455 F.2d 1406
    Foppianov.Lowery
    71-1607
    United States Court of Appeals Second Circuit
    Nov. 3, 1971
    
      1
      E.D.N.Y.
    
    
      2
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter.  The Second Circuit provides by rule for disposition by summary order when a decision is unanimous and each judge believes that 'no jurisprudential purpose would be served by a written opinion.' Decisions without formal opinions 'shall not be cited or otherwise used in unrelated cases.' Second Circuit Rules, § 0.23, 28 U.S.C.A.)
    
    